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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


 Mirror Imaging LLC,

                       Plaintiffs,
                                                       Consolidated Civil
                                                       Action No. 2:17-cv-00507-JRG
 v.
                                                       Lead Case
 BOKF, NA,
                                                        Civil Action No. 2:17-cv-00508-JRG
 First National Bank of Omaha,
                                                        Civil Action No. 2:17-cv-00509-JRG
 First National Bank Texas,

                       Defendants.


                               JOINT NOTICE OF MEDIATOR

        Plaintiff Mirror Imaging, LLC and Defendants BOKF, NA, First National Bank of

 Omaha and First National Bank Texas hereby advise the Court that they have agreed upon

 William Cornelius of the firm Wilson, Robertson & Cornelius, P.C., 909 ESE Loop 323, Suite

 400, Tyler, Texas, as mediator in the instant consolidated cases.



 Dated: September 22, 2017                        Respectfully submitted,


                                             By       /s/ gary m. anderson
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                                         ATTORNEYS FOR DEFENDANT AND
                                         COUNTERCLAIM-PLAINTIFF FIRST
                                         NATIONAL BANK TEXAS IN
                                         CONNECTION WITH ALLEGATIONS
                                         ARISING IN CONSOLIDATED CASE
                                         NO. 2:17-CV-00507-JRG




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                                CERTIFICATE OF SERVICE

        I hereby certify that on the 22nd day of September 2017, a true and correct copy of this
 document was served on all parties of record via the Court’s Electronic Case File (“ECF”)
 system.


                                            By     /s/ gary m. anderson
                                                   Gary M. Anderson
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